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    TRAFFICSCHOOL.COM, INC. and
  8 DRIVERS ED DIRECT, LLC, California companies.
  9
                               UNITED STATES DISTRICT COURT
 10
                             CENTRAL DISTRICT OF CALIFORNIA
 11
 12   TRAFFICSCHOOL.COM, INC.,               ) Case No. CV 06-7561 PA (CWx)
      a California corporation; DRIVERS ED )
 13   DIRECT, LLC, a California limited      ) The Honorable Percy Anderson
      liability company,                     )
 14                                          ) PLAINTIFFS’ POST-TRIAL
                         Plaintiffs,         ) [PROPOSED] FINDINGS OF FACTS
 15                                          ) AND CONCLUSIONS OF LAW
              vs.                            ) (CITATIONS TO EVIDENCE AND
 16                                          ) LEGAL AUTHORITIES)
      EDRIVER, INC., a California            )
 17   corporation; ONLINE GURU, INC.,        ) [November 16, 2007]
      FIND MY SPECIALIST, INC., and          )
 18   SERIOUSNET, INC., California           ) Trial:     Nov. 6-8, 2007
      corporations; RAVI K. LAHOTI, an       )
 19   individual; RAJ LAHOTI, an individual, )
      and DOES 1 through 10,                 )
 20                                          )
                         Defendants.         )
 21   _________________________________)
 22
 23
 24
 25
 26   ///
 27   ///
 28   ///
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  6                      et seq . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -41-
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  1   ABBREVIATIONS TO EVIDENCE USED HEREIN:
  2            “TD”-            Trial Declaration without sustained objection relating to the
  3                             finding.
  4            “TE”-            Trial Exhibit (Post-Trial Stipulation filed on Nov. 14, 2007).
  5            “TT”-            Trial Testimony, to extent any objections were not sustained.
  6            “Depo.”-         Trial Deposition Designation without any sustained objection.
  7   I.       FINDINGS OF FACT
  8            A.         The Parties: Plaintiffs (¶¶1-12)
  9            1.
 10                                                                            [TD Eric Creditor
 11   ¶¶2-3; 11.]
 12            2.
 13                                                              . [TD Eric Creditor ¶¶3;
 14   17(except lines 14-15); TE 300.]
 15            3.
 16
 17                      [TD Eric Creditor ¶6.]
 18   [Disputed on the grounds that the statement misleadingly implies that TSC’s online
 19   courses, which comprise approximately 98 percent of TSC’s traffic school sales in
 20   California, are licensed by the California Department of Motor Vehicles. The
 21   California Department of Motor Vehicles does not license online traffic school or
 22   home-study courses. Kramer Designated Depo., 273:12-20, 274:25-275:4, 276:12-
 23   277:13; 11/6 TT 152:25-154:5.]
 24            4.
 25
 26                              [TD Eric Creditor ¶10.]
 27            5.                                                       ,
 28
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  1                                  [TD Eric Creditor ¶8.]
  2            6.
  3
  4
  5                                                                                 [TD Eric
  6   Creditor ¶¶3; 5; 7; 11-14 (except to extent describing DMV.ORG operations per
  7   sustained objections).]
  8   [Disputed on the grounds that Plaintiffs’ core business is the provision of traffic
  9   school and drivers education courses, not the advertisement of and/or referral to
 10   other businesses. 11/7 TT 103:2-22. Plaintiffs’ referral revenue from third party
 11   traffic school and drivers education providers is less than $10,000 gross annually
 12   and less than 1% of their respective gross revenues. 11/6 TT 169:7-171:13;
 13   Designated Creditor Depo., 322:22-25, TEs 26 (PL01685), 62, 63.]
 14            7.
 15
 16                          [TD Eric Creditor ¶16 (a-d); TE 304, 306, 308, 310, 314 .]
 17   [Disputed on the grounds that Plaintiffs’ core business is the provision of traffic
 18   school and drivers education courses, not the advertisement of and/or referral to
 19   other businesses. 11/7 TT 103:2-22. TSC has earned less than $1,000 on average in
 20   advertising revenue over the last four years and Direct has earned no more than a
 21   few hundred dollars. 11/6 TT 173:5-174:18; Designated Creditor Depo., 81:1-
 22   82:12, 108:21-109:12, 326:16-327:3; TE 27 (PL01688).]
 23            8.
 24
 25                 [TD Eric Creditor ¶30; TE 371.]
 26            9.
 27

 28                                    [TD Eric Creditor ¶¶17 (except lines 14-15)-18; TD
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  1   Chris Kramer ¶¶3-4.]
  2            10.
  3
  4                                           [TD Chris Kramer ¶3; TD Eric Creditor ¶17-19
  5   (except lines 14-15); TE 367; 322-330.]
  6            11.
  7                                               [TD Chris Kramer ¶3; TE 367; 322-330.]
  8            12.
  9                 [TD Chris Kramer ¶6; TE 324 (showing Direct’s natural results link at
 10   bottom of first page) and TE 325(showing TSC’s natural results link as first non-
 11   sponsored listing).]
 12            B.        The Parties: Defendants (¶¶13-21)
 13            13.
 14   [TT 11/6, p. 21:6-8.]
 15            14.
 16
 17                                                          [TT 11/6, pp. 20:19-23; 22:16-
 18   22.]
 19            15.
 20
 21                                                                [Admission in Defendants’
 22   Answer to Third Amended Complaint, ¶19(a)-(c); Depo. Steve Moretti, pp.126:25 to
 23   127:7; 134:12-23; TT 11/6, p. 21:9-20; Depo. Ravi Lahoti, p. 57:6-9; 95:19 to 96:6,
 24   Ex. 171.]
 25            16.
 26
 27

 28   [Depo. Steve Moretti, pp. 139:19-24 to 140:20; TE 162.]
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  1   [Find My Specialist owns the domain name TeenDriversEducation.com, but the
  2   content on the website was created and is managed by Golden State Private School,
  3   not any of the Defendants. The website is used to track Golden State Private
  4   School’s teen driver education sales derived from advertisements on the DMV.ORG
  5   website. 11/6 TT 104:18-106:9, 119:1-6, 122:17-124:11, 124:20-125:14, 126:14-
  6   23.]
  7            17.
  8
  9                                    [TE 333; Depo. Ravi Lahoti pp. 14:4-24; TT 11/6, p.
 10   20:2-5; 21:2-5).]
 11            18.
 12

 13                                          [TE 333; TT 11/6 , pp. 19:22-20:18).]
 14            19.
 15
 16                      [Depo. Steve Moretti, p. 17:12-15; 129:1-17.]
 17            20.
 18                      [TE 161.]
 19   [Disputed in that, although Seriousnet was the initial registrant for the DMV.ORG
 20   domain, it did not own the domain at the time of the alleged unfair competition, i.e.,
 21   late 2006 to the present. See Defendants’ RJN Nos. 1-2. As shown in the cited
 22   exhibit, eDriver, Inc. has owned the domain since at least October 2003. TE 161, p.
 23   5.]
 24            21.
 25                                                                                   [Depo.
 26   Ravi Lahoti, pp. 62:8 to 95:18; TE 163, 165-167; 169; 171.]
 27   [Disputed that Seriousnet’s unspecified domains are confusingly similar to
 28   government or private domains. No evidence is offered to show that consumers were
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  1   misled by any domains registered by Seriousnet.]
  2            C.        Competition: Both Plaintiffs and Defendants Market and Sell
  3                      Traffic School and Drivers Education Courses (and Advertise Other
  4                      Driving Related Services ) via the Internet Through Search Engine
  5                      Marketing and Their Respective Websites (¶¶22-32)
  6            22.                    [TD Eric Creditor ¶¶3; 5; 7; 11-14],
  7
  8                                                                           . [Depo. Steve
  9   Moretti, pp. 75:15 to 76:14; 78:1-25; 79:13 to 80:24; 81:3-14; 95:18 to 97:8; 104:21
 10   to 106:24 (admission by Online Guru that they are in competition with Plaintiffs);
 11   252:14-24 (TE 14 list of “different partners used and in what state they are currently
 12   being advertised on the DMV.ORG website.”); Depo. Steve Moretti, pp. 256:7 to
 13   258:20; 260:1 to 263:25 (TE 15 agreements with referral companies).]
 14   [Disputed that Plaintiffs have referral relationships similar to Defendants, as
 15   Plaintiffs’ core business is the provision of traffic school and drivers education
 16   courses, not the advertisement of or referral to third parties (which comprise less
 17   than 1% of their respective gross revenues). 11/6 TT 169:7-171:13; 11/7 TT 103:2-
 18   22; Designated Creditor Depo., 322:22-25; TEs 26 (PL01685), 62, 63. Online
 19   Guru’s referral relationships with third party traffic school and drivers education
 20   providers are only for the advertisement of those services on DMV.ORG; no such
 21   services are sold on DMV.ORG. Raj Lahoti Trial Decl., ¶¶ 8, 10; 11/7 TT 25:5-24,
 22   169:15-25.]
 23            23.
 24
 25
 26
 27                                     ;
 28
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  1                                                                                [TE 15
  2   (e.g., (DEF-01957),(DEF-00239), (DEF-00244 (“sales commission”); TE 356; TT
  3   11/7, pp. 188:2-190:21.]
  4   [Disputed on the grounds that the statement mischaracterizes the nature of
  5   DMV.ORG’s advertisement of third party services and products based merely on the
  6   fee structure for these advertisements. The fact is that DMV.ORG’s core business is
  7   to act as an internet publishing company, with 99 percent of its revenues derived
  8   from advertising. 11/7 TT 169:15-25.]
  9            24.                 [TD Eric Creditor ¶¶3; 5; 7; 11-14],
 10
 11
 12

 13
 14
 15
 16                                                                             [TE 15
 17   (DEF-00244); TE 413 (attached to Post-Trial Exhibit Stipulation); Depo. Steve
 18   Moretti, p. 316:2-10.]
 19   [Disputed on the grounds that unlike Plaintiffs, Defendants do not manage other
 20   websites for the purpose of generating revenue from the sale of drivers education
 21   and traffic school services. Rather, Defendants own other domain names, such as
 22   TeenDriversEducation.com, for the purpose of tracking consumers that purchase
 23   courses from third parties advertised on DMV.ORG; Online Guru did not create the
 24   content nor does it manage the TeenDriversEducation.com website. 11/6 TT 104:18-
 25   106:9, 119:1-6, 122:17-124:11, 124:20-125:14, 126:14-23; Raj Lahoti Trial Decl., ¶
 26   8.]
 27            25.
 28
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  1                                                                        [TT 11/6, p.
  2   119:1-6],
  3                                              [TT 11/6, p.105:13-17].
  4                                   (the contract between Online Guru and Golden State
  5   [TT 11/16, pp. 36:6-37:11],
  6                      .
  7
  8                                             [TT 11/6, p. 119:7-20].
  9
 10
 11                                                               [TT 11/6, p. 120:17-23; TE
 12   413 (communicating to consumers that the courses are being offered by
 13   TeenDriversEducation.com by the use of the terms “our” and “we” in the text of the
 14   website)].
 15
 16
 17                                     . [TT 11/6, pp. 122:17-124:19.]
 18   [Mr. Lahoti’s testimony was truthful; as explained, the business purpose for Online
 19   Guru’s ownership of the TeenDriversEducation.com domain is to track Golden State
 20   Private School’s teen driver education sales derived from advertisements on the
 21   DMV.ORG website. As to contentions relating to the branding of the website,
 22   TeenDriversEducation.com website explains to visitors on the “about us” page of
 23   the website that the home study course is developed by Golden State Private School,
 24   and the “contact us” page provides an address for Golden State Private School.
 25   Online Guru (through DMV.ORG) does not sell driving education services, nor does
 26   it derive goodwill based on the mere ownership of the teendriverseducation domain
 27   as the website sells a third party service that cannot simply be replaced by some
 28   other provider. TT 104:18-106:9, 119:1-6, 122:17-124:11, 124:20-125:14, 126:14-
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  1   23; TE 413.]
  2            26.
  3                                                                [TD Eric Creditor ¶¶12-
  4   15 (except to extent it relates to DMV.ORG’s operations); e.g., TE 300 (showing
  5   TSC’s “courses offered” for traffic school in Nevada, New Mexico, Colorado, Idaho,
  6   Virgina through I DRIVE SAFELY referral provider) and TE 301(showing
  7   DMV.ORG’s courses offered for Nevada, New Mexico, Colorado, Idaho, Virginia
  8   through I DRIVE SAFELY referral provider), TE 302 (showing Direct’s drivers
  9   education courses being offered for Texas and Colorado through Driver Ed in a Box
 10   and Virtual Drive) and TE 303 (showing DMV.ORG’s offering drivers education
 11   courses for Texas and Colorado through Driver Ed in a Box and Virtual Drive);
 12   TE 14.]
 13   [Disputed on the grounds that TSC’s referral revenue is less than $10,000 annually
 14   (less than 1% of gross revenue), none in California, Florida or Texas, and Direct
 15   has earned no referral revenue. Rather, Plaintiffs’ core business is the provision of
 16   traffic school and drivers education, not referrals to third parties, which comprises
 17   an insignificant portion of their respective businesses. 11/6 TT 138:24-139:6,
 18   162:6-12, 163:9-165:24, 167:1-168:12, 169:7-171:13; 11/7 TT 103:2-22;
 19   Designated Creditor Depo., 66:3-7, 71:4-11, 72:10-18, 322:22-25; TEs 26
 20   (PL01685), 62, 63.]
 21            27.
 22                                                                       [Depo. Steve
 23   Moretti, pp. 41:19 to 45:21; 45:22 to 46:6 (describing nature of DMV.ORG business
 24   and goods and services provided); TD Eric Creditor ¶16(a)-(e) (except to extent it
 25   relates to DMV.ORG’s operations); compare TE 304 and 305 (vehicle history
 26   reports); compare TE 306 and 307 (new/used car quotes); compare TE 308 and 309
 27   (auto insurance quotes); compare TE 310 and 311 (driver’s records); compare TE
 28   312 and 313 (DVD product “Rules of the Road.”); TT 11/16, pp. 44:5-21; 45:5-15;
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  1   46:7-12.]
  2   [Disputed on the grounds that Plaintiffs’ advertising revenues are de minimus (less
  3   then $1,000 on average over the last four years for TSC and only a few hundred
  4   dollars for Direct) and that their core business is the provision of traffic school and
  5   drivers education courses, not advertising. If Plaintiffs and Defendants are deemed
  6   to compete based on the fact that Plaintiffs run advertisements on their websites,
  7   Plaintiffs can be said to compete with any website running advertisements. 11/6 TT
  8   173:5-174:18; 11/7/ TT 103:2-22, Designated Creditor Depo., 81:1-82:12, 108:21-
  9   109:12, 326:16-327:13; TE 27 (PL01688).]
 10            28.
 11                                                             [TE 321
 12   (AffiliatePrograms.com ads for DMV.ORG and Direct on 2/4/2007).]
 13            29.              ,                                   [TD Chris Kramer ¶3;
 14   TD Eric Creditor ¶17-19 (except lines 14-15)],
 15                                                    [Depo. Steve Moretti, p. 251:8-14; TE
 16   13 (list of traffic school and drivers ed related keywords bid on by DMV.ORG);
 17   Depo. Steve Moretti, p. 345:1-9; TE 101 (DMV.ORG state specific traffic school and
 18   drivers related keywords).]
 19   [Disputed that Defendants’ marketing of DMV.ORG through payment for
 20   “sponsored” result listings is comparable to Plaintiffs’ marketing efforts. TEs 602,
 21   680; Raj Lahoti Trial Decl., ¶ 14.]
 22            30.              ,              [TD Chris Kramer ¶6; TE 324, 325],
 23                                                    [TD Chris Kramer, ¶6; TT 11/7, pp.
 24   150:11-151:5.]
 25            31.
 26
 27

 28
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  1

  2            32.
  3
  4                                                      [TE 13 (DEF-00252)(showing
  5   trafficschool.com as a bid on keyword by Defendants.]
  6   [Disputed on the grounds that the trafficschool.com keyword is generic and there is
  7   no evidence to suggest that Defendants bid on this keyword for any reason other
  8   than its generic nature.]
  9            D.        The .ORG Top-Level Domain; The DMV Moniker; Use by
 10                      Defendants of DMV and Other State Agency Names in Search
 11                      Engine Advertising Even for “Non-DMV” States; Defendants’
 12                      Attempt to Appropriate for Exclusive Use the DMV Moniker as a
 13                      Trademark; No License or Permission From DMVs (¶¶33-40)
 14            33.
 15                                                             [TE 315 (PL01273–1274
 16   (North Corolina’s DMV website at NCDOT.ORG and NCDOT.ORG/DMV).]
 17   [Disputed to the extent that the finding misleadingly implies that .org domains are
 18   restricted. To the contrary, the .org top level domain is an “open” and
 19   “unrestricted” domain (meaning anyone can register a .org, including commercial
 20   entities, like IBM.ORG, FEDEX.ORG, and Craigslist.org.). Defendants’ RJN No. 4.]
 21            34.
 22
 23             [TE 315 (examples of selected state government agencies’ use of DMV
 24   acronym on official websites- including CA, AK, CT, DE, DC, ID, NE, NV, NY,
 25   NC, OR, SC, UT, VT, VA, WI).]
 26   [Disputed as to the characterization of “DMV” as unique. To be factual,
 27   approximately 24 states use the DMV moniker. Defendants RJN Nos. 10. Further,
 28   Plaintiffs as well as other third parties use the DMV moniker in domain names and
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  1   on websites. 11/6 TT 208:5-209:18; Designated Creditor Depo., 271:15-272:19; TE
  2   20; Defendants’ RJN Nos. 11-12.]
  3            35.
  4                      [TE 315 (PL01039-1042).]
  5            36.
  6                                                            [TD Dr. Thomas Maronick,
  7   TE 350 (pg. 6, Study 1).]
  8            37.
  9
 10                                                              [TE 400 (consumer emails
 11   to DMV.ORG where the consumer is referencing the acronym DMV and DMV.ORG
 12   is sending them to the state agency URL in the non-DMV state (e.g., Massachusetts
 13   (DEF-01172); (DEF-01181-from non-DMV state AZ, but consumer asks “...can I get
 14   a temporary plate to go to the dmv?”); (DEF-01601-“I was told to contact the
 15   DMV”- from consumer in Florida), etc., etc.]
 16   [Disputed on the grounds that a handful of emails from persons residing in non-
 17   DMV states is not probative of how any significant portion of the population in those
 18   states would refer to their motor vehicle departments; this use of exemplar emails
 19   illustrates the danger of accepting anecdotal rather than statistically reliable
 20   evidence. Further, Defendants’ survey demonstrates that there is no statistically
 21   significant confusion relating to the DMV.ORG website. TEs 172-173. ]
 22            38.
 23
 24             [TE 401];
 25
 26                                                                             [TE 402.]
 27            39.
 28
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  2                                  [TE 362.]
  3            40.
  4
  5

  6             [Admission in Defendants’ Answer to Third Amended Complaint, ¶42; TE
  7   317 (000131-last page text on DMV.ORG showing ineffective disclaimer appearing
  8   at bottom of third page)]
  9   [Disputed to the extent that the statement implies that DMV.ORG represents that it is
 10   endorsed by, affiliated with, or licensed by any state agency and/or that the
 11   disclaimers on DMV.ORG are ineffective. There is no evidence of any express claim
 12   of affiliation, and to the contrary, DMV.ORG contains several prominent disclaimers
 13   and additional clarifying language explaining the nature of the website. Raj Lahoti
 14   Trial Decl., ¶¶ 25-27, 29-34; TEs 623-625, 631.]
 15            E.        Defendants' False and Misleading Search Engine Advertising
 16                      (¶¶41-61)
 17            41.                                                      [Admission in
 18   Defendants’ Answer to Third Amended Complaint, ¶25-26.]
 19            42.
 20
 21
 22
 23
 24                                      [TEs 322- 330, 367, 372, and 379-381, 401 and 402); TT
 25   11/6, pp. 60:9-62:9 (TE 324); TD Shannon Roberston, ¶¶3-6; TD Chris Kramer, ¶7;
 26   TT 11/6, pp. 60:1-61:13; 61:21-63:18; 63:19-65:4 (TE 324, 325); TE 394
 27   (governmental entities such as the United States Army do use sponsored listings
 28   through Google); TD Lisa Warren, ¶5-8.]
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  1   [Disputed that the sponsored links for DMV.ORG are deceptive; a handful of
  2   examples are not probative in light of the million visits that the website receives on a
  3   weekly basis. Moretti Trial Decl., ¶ 4; TE 674; William H. Morris Co. v. Group W,
  4   66 F.3d 255 (9th Cir. 1995) (3% not significant); and Johnson & Johnson-Merck
  5   Consumer Pharmaceuticals Co. v. Rhone-Poulenc Rorer Pharmaceuticals, 19 F.3d
  6   125 (3rd Cir. 1994) (7.5% not significant, noting that 20% might be sufficient). If
  7   these few instances suffice to establish actionable false advertising claims, then
  8   entities such as Bank of America and US Bank could be liable for similar “false
  9   advertising” as well.]
 10            43.
 11
 12

 13
 14   [TD Dr. Thomas Maronick, TE 350 (pg. 7, Study 2); TE 389 (Rebuttal Statement of
 15   Dr. Maronick).]
 16   [Disputed on the grounds that the Maronick surveys are unreliable because of the
 17   serious survey errors including the failure to use a control, the failure to instruct
 18   respondents not to guess, the failure to mimic a visitor’s actual experience through
 19   the use of improper stimuli and dissection of DMV.ORG into component parts, the
 20   use of leading questions, and the combination of key questions on the same page.
 21   TE 142 (Simonson Decl., ¶¶ 23, 37-38, 41-51, 53-55, 57); Designated Maronick
 22   Depo., 13:4-14:4, 34:5-35:5, 39:5-11, 40:5-23, 44:2-18, 45:17-46:22, 54:7-10,
 23   72:15-73:13, 95:25-96:1, 96:20-97:12, 97:17-21, 100:2-7, 172:4-173:11; TE 144
 24   (Surveys 2-3, questions 6-7 and 8-9). Hollander’s results show that when these
 25   errors are corrected, there is no statistically significant confusion. TEs 172-173. ]
 26            44.
 27

 28
      4851-6320-8706.1                           -13-
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  1                            [TT 11/7, p. 154:6-10; TE 339; Depo. Steve Moretti, pp.
  2   223:13 to 230:25 (i.e., 224:8-21).]
  3   [Disputed that consumer perceptions at the search results stage is critical, as
  4   Plaintiffs have offered no evidence in support of this statement and their own expert,
  5   Dr. Maronick, testified that a consumer is likely to hunt around on a variety of
  6   websites before making a purchasing decision. Maronick Designated Depo.,
  7   217:13-17; 11/7 TT 10:3-6, 206:19-207:20, 219:8-220:12.] Further, Plaintiffs’
  8   focus on search engine results, separate from the DMV.ORG website, improperly
  9   dissects the alleged “false advertising,” rather than considering it in its full context.
 10   Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997); and
 11   Avis Rent A Car System, Inc. v. Hertz Corp., 782 F.2d 381, 385 (2d Cir. 1986)
 12   (courts must "consider the advertisement in its entirety and not … engage in
 13   disputatious dissection"); and FTC v. Sterling Drug, Inc., 317 F.2d 669, 674 (2d Cir.
 14   1963) (view the "entire mosaic" not "each tile separately").]
 15            45.
 16
 17
 18                          [TT 11/6 , pp. 48:18-50:1; 50:6-16; 50:10-22; 65:24-66:13; TD
 19   Chris Kramer, ¶3.]
 20   [Disputed on the grounds that the cited testimony does not support the statement;
 21   Online Guru bids on keywords related to every topic covered on DMV.ORG to
 22   attract consumers interested in every aspect of motor vehicle information. The kiw
 23   conversion rates for traffic school and drivers education courses advertised on
 24   DMV.ORG (regardless of the method of calculation) also undermine the claimed
 25   effectiveness of Online Guru’s search engine optimization and paid-for advertising.
 26   11/6/ TT 65:24-66:13; 11/7 TT 10:3-6, 206:19-207:20, 219:8-220:12; Moretti Trial
 27   Decl., ¶¶ 19-21.]
 28            46.
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  2
  3                      [TT 11/6, pp. 68:14-70:9; TT 11/7 , p. 173:3-8 and p.175:12-18 ; TE
  4   127,TE 133.]
  5   [Disputed on the grounds that the average visitor on DMV.ORG views at least 5
  6   webpages. Moretti Trial Decl., ¶¶ 10-11.]
  7            47.
  8                                                                            .
  9
 10                                                              [TT 11/7 , p. 172:4-21.]
 11   [Disputed on the grounds that the drop in the percentage of visitors entering through
 12   the main homepage may also be due to the increase in the number of webpages on
 13   DMV.ORG, making it more likely that consumers will enter the site through other
 14   webpages. 11/7 TT 172:4-16.]
 15            48.
 16
 17
 18
 19                                                           [TT 11/6, pp. 50:23-51:19.]
 20   [Disputed on the grounds that the description of “cost per action” misrepresents the
 21   process. “Cost per action” is a simply a way to charge for effective advertising. Raj
 22   Lahoti Trial Decl., ¶ 8.]
 23            49.
 24                                                ,
 25
 26                                                                  [Depo. Steve Moretti, pp. 146:18
 27   to 147:4; TE 97, TT 11/6 pp. 54:20-25; 58:1-25; 60:22-25.]
 28   [Disputed on the grounds that Online Guru’s sponsored advertising listings in
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  1   Yahoo! and Google are subject to Yahoo!’s and Google’s approval and their
  2   extensive rules regarding the content of sponsored advertisement listings. Raj
  3   Lahoti Trial Decl., ¶ 18; 11/7 TT 49:5-11; TEs 94-96. Plaintiffs concede that their
  4   own search engine marketing is subject to Yahoo! and Google’s review. 11/7 TT
  5   49:2-11.]
  6            50.
  7
  8                                  [TE 392; TE 95 (p. 3 of 3 relating to “Traffic Devices”.]
  9            51.
 10
 11                                                                             [TE 322.]
 12            52.
 13                                     [TE 322 (CA DMV listing at www.ca.dmv.org directly
 14   under the sponsored DMV.ORG listing of www.ca.dmv.org); TE 315 (PL01039-
 15   1042).]
 16            53.
 17
 18                                [TE 322.]
 19            54.
 20
 21                            [TE 412 (attached to Post-Trial Exhibit Stipulation)],
 22
 23                      [TT 11/6, pp. 92:16-95:7.]
 24            55.
 25
 26
 27

 28                                       [TE 322.]
      4851-6320-8706.1                                -16-
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